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“ UNITED STATES D|STR|CT COURT
DENVER. COLORADO

U. S. DISTRICT CoURT FoR THE DISTRICT oF C_oLoRADoMAR 1 1 2019
' JEFl'-r<L'-.Y P. u'ULvVELL

MATTHEW w. BUCK, Plaintiff, _ cLERK
v. cleL AcrloN No._i-s-cmoa¢m__" -
BoRA soNG, "

HYE SONG, Defendants.

411

DEFENDANTS’ MOTION TO APPEAR BY TELEPHONE

Comes~now Defenda'nts, pro se, hereby move to appear telephonically for Scheduling
Conference on April lO, 2019.

Pro se Defendants cannot confer with Plaintift" because he is not responsive, and he is not "'"
cooperative with any requests. Defendants cannot appear in person because'they are not residents
of Colorado, are pro se, and‘face hardship in appearing in Colorado court on the specified

hearing date. Defendants are arguing for Motion to`Dismiss based on Lack of Personal

Jurisdiction. Defendants will'be accessible via telephone on the date and time of the conference

 
    

Wherefore, the defendants respectfully requests: z

§ \_; _

1“ That defendants be permitted to appear telephonically on April lO, 2019 at 8: 30(AM "§7*‘

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2. That this Court grant any such relief this Court deems just, equitable, and proper.

Respectfully submittéd,
6a '

~ ' . Bora Song, pro se
"'_ ` Flye kong pro se
Certii`lcate of S_ervice
The undersigned hereby certifies that on this 8 March 2019, a true and correct copy of the
foregoing MOTION TO APPEAR BY TELEPHONE was filed and served via email to the

following

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Matthew W. Buck l y

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